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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION


 CAREY D. EBERT,                                §
                                                §
        Plaintiff,                              §
                                                §
 v.                                             §       Civil Action No. 4:15-cv-00225-O
                                                §
 MICHAEL GUSTIN et al.,                         §
                                                §
        Defendants.                             §


                                            ORDER

       Before the Court are Defendants Howard Miller Appel, Ernest A. Bartlett, III, and Matthew

Cohen’s (collectively “Separate Defendants”) Motion to Alter Judgment as a Matter of Law (ECF

No. 294), filed August 3, 2017; Defendant John Paul DeJoria’s Motion for Judgment as a Matter

of Law (ECF No. 296), filed August 7, 2017; and Plaintiff Carey D. Ebert’s Amended Motion for

Judgment (ECF No. 297), filed August 21, 2017. The motions have been fully briefed and are ripe

for review.

       Having considered the Motions, related briefing, and relevant law, the Court finds that

Separate Defendants’ Motion to Alter Judgment as a Matter of Law (ECF No. 294) should be and

is hereby DENIED; Defendant John Paul DeJoria’s Motion for Judgment as a Matter of Law (ECF

No. 296) should be and is hereby DENIED; and Plaintiff’s Amended Motion for Judgment (ECF

No. 297) should be and is hereby GRANTED.

I.     BACKGROUND

       Plaintiff Carey D. Ebert (“Ebert” or “Plaintiff”), the Trustee for the Chapter 11 estate of

Latitude Solutions, Inc. (“LSI”), alleged that Defendants conducted a complex, fraudulent



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enterprise to control and manipulate LSI, its subsidiaries, and its stock. Specifically, Plaintiff

alleged that two groups of corporate insiders and co-conspirators—the “First Board” and the

“Second Board,” respectively—misused LSI, its creditors, and its shareholders, by perpetrating a

“pump-and-dump”1 scheme. 2d Am. Compl. ¶ 12, ECF No. 34. Plaintiff alleged that the Second

Board, all of whom were corporate fiduciaries, partnered with the First Board to continue this

fraudulent scheme. Id. She also alleged that the Second Board deliberately disregarded warning

signs from LSI’s management, thereby violating its fiduciary duty, acting in its own self-interest,

grossly mismanaging LSI’s business, and squandering corporate assets. Id. ¶ 1. She further alleged

that the combination of the First and Second Boards’ fraud and corporate waste caused LSI to go

bankrupt, leaving creditors with as much as $40 million in debt owed. Id.

        The parties tried this dispute for five consecutive days between July 10, 2017, and July 14,

2017. See Min. Entries, ECF Nos. 279–84. On July 13, 2017, near the end of trial, the Court granted

Plaintiff’s motion to dismiss all of her fraud claims against Defendants Harvey Klebanoff (a/k/a

Kaye); Michael Gustin; Jeffrey Wohler; RM Advisors, Inc.; Capital Growth Realty, Inc.; Capital

Growth Investment Trust; DIT Equity Holdings; FEQ Realty, LLC; Discretionary Investment

Trust; KWL Exploration and Development, Inc.; Moggle Investors, LLC; Wiltomo Redemption

Foundation; and SST Advisors. See July 17, 2017 Order, ECF No. 285; Min. Entry, ECF No. 283.

Claims of breach of fiduciary duty, aiding and abetting breach of fiduciary duty, and any possible

resulting damages—against Defendant DeJoria and the Separate Defendants—were the only

claims that remained for jury consideration.

        On July 14, 2017, the jury found that Cohen and DeJoria breached their fiduciary duty to


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  “In a typical pump-and-dump, corporate insiders in a micro-cap give themselves stock in a company,
intentionally manipulate the stock’s price through press releases, marketing, and illegal trades, and then
unload their shares at extravagant profits before letting the company die.” Pl.’s 2d Am. Compl. 31, ECF
No. 34.

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LSI (Jury Question 1); and that Appel, Bartlett, and DeJoria each aided and abetted Cohen’s breach

of fiduciary duty to LSI (Jury Question 2). Jury Charge 6–7, ECF No. 287. The parties then

submitted the post-trial motions at issue here. See ECF Nos. 294, 296, 297. The Court will consider

each in turn.

II.    LEGAL STANDARDS

       A.       Rule 50 Judgment as a Matter of Law

       Rule 50 of the Federal Rules of Civil Procedure governs motions for judgment as a matter

of law in jury trials. See FED. R. CIV. P. 50; Weisgram v. Marley Co., 528 U.S. 440, 448–49 (2000).

Rule 50(a) “authorizes the entry of judgment as a matter of law ‘[i]f a party has been fully heard

on an issue during a jury trial and the court finds that a reasonable jury would not have a legally

sufficient evidentiary basis to find for the party on that issue.’” See James v. Harris Cnty., 577

F.3d 612, 617 (5th Cir. 2009) (quoting FED. R. CIV. P. 50(a)). “It allows the trial court to remove

cases or issues from the jury’s consideration ‘when the facts are sufficiently clear that the law

requires a particular result.’” Weisgram, 528 U.S. at 448 (quoting 9 Wright & Miller, Federal

Practice and Procedure § 2521 (2d ed. 1995)). “If the court does not grant a motion for judgment

as a matter of law made under Rule 50(a), the court is considered to have submitted the action to

the jury subject to the court’s later deciding the legal questions raised by the motion.” FED. R. CIV.

P. 50(b).

       “[I]n entertaining a motion for judgment as a matter of law, the court should review all of

the evidence in the record.” Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000).

“In doing so, however, the court must draw all reasonable inferences in favor of the nonmoving

party, and it may not make credibility determinations or weigh the evidence.” Id. (citing Lytle v.

Household Mfg., Inc., 494 U.S. 545, 554–55 (1990)). “Credibility determinations, the weighing of



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the evidence, and the drawing of legitimate inference from the facts are jury functions, not those

of a judge.” Id. at 150–51 (quoting Anderson v. Liberty Lobby, 477 U.S. 242, 255 (1986)). “Thus,

although the court should review the record as a whole, it must disregard all evidence favorable to

the moving party that the jury is not required to believe.” Id. at 151.

       “A motion for judgment as a matter of law is appropriate if, after considering the evidence

presented and viewing all reasonable inferences in the light most favorable to the nonmovant, the

facts and inferences point so strongly in favor of the movant that a rational jury could not arrive at

a contrary verdict.” Murray v. Red Kap Indus., Inc., 124 F.3d 695, 697 (5th Cir. 1997). “If there is

substantial evidence of such quality and weight that reasonable and fair-minded jurors might reach

a different conclusion,” then judgment as a matter of law is not appropriate. Id. “In other words,

the evidence must be sufficient so that a jury will not ultimately rest its verdict on mere speculation

and conjecture.” Anthony v. Chevron USA, Inc., 284 F.3d 578, 583 (5th Cir. 2002) (citing Gulf

Coast Real Estate Auction Co. v. Chevron Indus., Inc., 665 F.2d 574, 577 (5th Cir. 1982)). “We

must remember, however, that evidence sufficient to support a jury verdict must be substantial

evidence.” Guile v. United Sates, 422 F.3d 221, 227 (5th Cir. 2005) (emphasis in original). “[T]he

party opposing the motion must at least establish a conflict in substantial evidence on each essential

element of [his] claim.” See Anthony, 284 F.3d at 583. Finally, “[t]he ‘standard of review with

respect to a jury verdict is especially deferential.’” Lubke v. City of Arlington, 455 F.3d 489, 494

(5th Cir. 2006) (quoting Brown v. Bryan Cnty, 219 F.3d 450, 456 (5th Cir. 2000)).

       B.      Rule 59 Motion for New Trial

       Under Federal Rule of Civil Procedure 59, the Court may grant a new trial after a jury trial

“for any reason for which a new trial has heretofore been granted in an action at law in federal

court.” FED. R. CIV. P. 59 (a)(1)(A). While this rule does not enumerate specific grounds for



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granting a new trial, the Fifth Circuit has found that a new trial is appropriate where: (1) the verdict

is against the weight of the evidence, (2) the amount of damages awarded is excessive, or (3) the

trial was unfair or marred by prejudicial error. Seidman v. Am. Airlines, Inc., 923 F.2d 1134, 1140

(5th Cir. 1991). “Courts do not grant new trials unless it is reasonably clear that prejudicial error

has crept into the record or that substantial justice has not been done, and the burden of showing

harmful error rests on the party seeking the new trial.” Del Rio Distrib., Inc. v. Adolph Coors Co.,

589 F.2d 176, 179 n.3 (5th Cir. 1979).

        C.      Rule 59(e) Motion to Alter or Amend Judgment

        Federal Rule of Civil Procedure 59(e) allows a party to file a motion to alter or amend a

judgment within twenty-eight days after entry of the judgment. FED. R. CIV. P. 59(e). Motions for

reconsideration are permitted in limited situations, primarily to correct “a manifest error of law or

fact” or “to present newly discovered evidence.” Turner v. Baylor Richardson Med. Ctr., 476 F.3d

337, 344 (5th Cir. 2007). A motion for reconsideration is not a means for “rehashing evidence,

legal theories, or arguments that could have been offered or raised before the entry of judgment.”

Templet v. HydroChem Inc., 367 F.3d 473, 479 (5th Cir. 2004).

III.    ANALYSIS

        A.      Separate Defendants’ Rule 50 Motion

        On August 3, 2017, Separate Defendants filed a motion for judgment as a matter of law

under Rule 50, or in the alternative, a motion to alter or amend the judgment, and for a new trial

under Rule 59. Separate Defs.’ Mot. JMOL, ECF No. 294. Separate Defendants argue that Plaintiff

failed to establish the existence of a fiduciary duty as to Cohen, a condition precedent to the jury

finding that Defendants breached that duty or aided and abetted that breach. Id. at 7. Separate

Defendants therefore argue that the evidence in the record is insufficient to support the jury’s



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finding on Jury Questions 1 and 2. The Court will analyze the motion as to each defendant below.

                1.      Matthew Cohen

        The jury found that Cohen breached his fiduciary duty to LSI’s creditors and awarded

Plaintiff damages in the amount of $6.5 million in connection with Damage Element 12 and

$400,000.00 in connection with Damage Element 2.3 Jury Charge 8, ECF No. 287. Separate

Defendants argue that there is insufficient evidence to support the jury’s finding that Cohen

breached his fiduciary duty to LSI’s creditors because, inter alia, (1) as a matter of law,

corporations only owe their creditors a fiduciary duty when they are insolvent, and LSI was not

insolvent during 2011 when the alleged breach occurred; and (2) Cohen had no duty to disclose

Appel’s involvement with LSI before LSI contracted with Jabil Circuits, Inc. (“Jabil”) because

Appel was only a minority shareholder at the time and was only employed by LSI as a consultant

after LSI contracted with Jabil. Br. Supp. Separate Defs.’ Mot. JMOL 5–7, ECF No. 294-1.

        Plaintiff responds that the jury had sufficient evidence to find, and correctly found, that

Cohen breached his fiduciary duty, because he (1) acquired for LSI a multimillion dollar contract

with Jabil for an illegitimate purpose; (2) allowed Appel, who had a previous conviction for

securities fraud, to control LSI; and (3) failed to disclose Appel’s involvement to the public and

outside creditors. Pl.’s Resp. Defs.’ Mot. JMOL 4, ECF No. 306. Plaintiff does not address in

writing the argument that she failed to prove LSI was insolvent before May 2011, when Cohen

committed LSI to the Jabil contract, but Plaintiff’s counsel orally argued on July 12, 2017, during



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  The Jury Charge on Damage Element 1 asks the jury to find whether “[t]he reasonable cash market value
of liabilities incurred by LSI” was “a proximate cause of that defendant’s breach of fiduciary duty, [and]
which liabilities are still owed and have not yet been paid, if any.” Jury Charge 8, ECF No. 287.
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  The Jury Charge on Damage Element 2 asks the jury to find whether Defendants’ breach of fiduciary
duty “proximately caused” damage to LSI, and “[t]he reasonable market value of any gains to that defendant
(including salaries, consulting fees, net proceeds from stock issuances to directors and/or officers of LSI,
and other expenses) . . . .” Jury Charge 8, ECF No. 287.

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the hearing on the Rule 50 Motions, that “[t]here’s ample evidence in the record that at that time,

pretty much at all times, LSI was insolvent and as a matter of law fiduciary duties in an insolvent

company run not to just the company and the shareholders but to creditor [sic].” Min. Entry at

23:20–23, ECF No. 291.

        In resolving this motion as to Cohen, the Court must determine whether the evidence

Plaintiff presented to the jury was sufficient regarding (1) proof of LSI’s insolvency before Cohen

committed LSI to the Jabil contract; and (2) Cohen’s actions constituting breach of his fiduciary

duty to LSI’s creditors, namely Jabil. The Court addresses each prong in turn.

               a.      Sufficiency of the Evidence to Show LSI was Insolvent

        Separate Defendants must show that Plaintiff failed to provide sufficient evidence that LSI

was insolvent as a matter of law during the time that Cohen was an officer and director of LSI and

before Cohen committed LSI to the Jabil contract.4 Under Texas law corporate officers and

directors only owe corporate creditors a fiduciary duty when their corporation is insolvent. Conway

v. Bonner, 100 F.2d 786, 787 (5th Cir. 1939); see also Carrieri v. Jobs.com, Inc., 393 F.3d 508,

534 n.24 (5th Cir. 2004) (“Officers and directors that are aware that the corporation is insolvent,

or within the ‘zone of insolvency’ as in this case, have expanded fiduciary duties to include the

creditors of the corporation.”). Texas law defines “insolvent” as “(A) having generally ceased to

pay debts in the ordinary course of business other than as a result of a bona fide dispute; (B) being

unable to pay debts as they become due; or (C) being insolvent within the meaning of the federal

bankruptcy code.” TEX. BUS. & COM. CODE § 1.201(b)(23) (emphasis added). According to the

Federal Bankruptcy Code, “insolvent” means a “financial condition such that the sum of such

entity’s debts is greater than all of such entity’s property, at a fair valuation, exclusive of—(i)


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 It is undisputed that Cohen was an officer and director of LSI from March 2009 to June 2012. See Jury
Charge 5, ECF No. 287.

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property transferred, concealed, or removed with intent to hinder, delay, or defraud such entity’s

creditors; and (ii) property that may be exempted from property of the estate under section 522 [of

the Bankruptcy Code]” 11 U.S.C. § 101(32)(a).

        The Court, having reviewed the entire record, finds sufficient evidence to support a jury

finding that LSI was insolvent at the time Cohen, as an officer and director of LSI, committed the

company to the Jabil contract and allegedly breached his fiduciary duty to both LSI and now-

creditor Jabil.

        First, Plaintiff offered into evidence LSI’s Form 10—the financial disclosure document

filed with the U.S. Securities and Exchange Commission (“SEC”) by which LSI went public.

Cohen testified that on Form 10’s balance sheet for years 2008 and 2009, LSI had a negative net

worth and that the liabilities exceed the assets of the company. See Defs.’ Ex. 421 at 58–65, ECF

No. 276. Plaintiff’s counsel asked Cohen, “[D]oes that mean that as of that date at least by some

definitions the company was technically insolvent?” Id. Cohen responded, “Yes. That’s what it

indicates. A negative net worth would be a sign of insolvency.” Id.

        Additionally, Dr. Joseph Anthony McGee, Jabil’s executive vice president, testified about

invoices Jabil sent to LSI pursuant to their master service agreement. Dr. McGee testified that LSI

never paid its invoices as they became due, and that around the time of November 2011, LSI’s

non-payments caused executives at Jabil to become concerned that LSI could not pay its

arrearages. Dr. McGee testified at length about the specifics of invoices and growing debt that LSI

faced in its dealings with Jabil. See July 11, 2017 Trial Tr. (McGee testimony); Pl.’s Trial Ex. 176.

        Finally, McBroom, an employee of Select Energy Services and the co-inventor of two

patents relating to water remediation technology, testified about his experience working with LSI.

Specifically, McBroom testified that LSI’s October 6, 2011 Press Release regarding the successful



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deployment of water remediation technology by LSI was not a truthful statement. He also testified

that LSI had never transitioned from a deployment phase to a commercial phase, meaning that LSI

was never a revenue-producing company. In further support of McBroom’s testimony, Plaintiff’s

counsel submitted at trial the deposition testimony Jeffrey Wohler, LSI’s President and chief

executive officer (“CEO”) from January 2012 until August 2012, who claimed that LSI was never

commercially viable. Pl.’s App. Defs.’ Mot. JMOL 62, ECF No. 307-1 (hereinafter “Pl.’s App.”).

       Under the Federal Bankruptcy Code, an entity whose debts are greater than its assets falls

within the statutory definition of insolvency. 11 U.S.C. § 101(32)(a). The Court finds that the

testimony and other evidence identified above is more than sufficient for a reasonable jury to find

that LSI was insolvent before LSI contracted with Jabil. The Court therefore also finds that Cohen

owed a fiduciary duty to LSI’s creditor Jabil. The Court will next address whether there is

sufficient evidence to show that Cohen breached his fiduciary duty to LSI’s creditor Jabil.

               b.      Sufficiency of the Evidence to Show Cohen Breached His Fiduciary Duty

       Separate Defendants argue Cohen never had a duty to disclose Appel’s involvement with

LSI before the execution of the Jabil contract, and therefore, the jury’s finding that he breached

his fiduciary duty must be overturned. Br. Supp. Separate Defs’ Mot. JMOL 4, ECF No. 294-1.

Plaintiff responds that the jury correctly found that Cohen breached his fiduciary duty to LSI in at

least three ways: (1) he caused LSI to enter into a multimillion dollar contract with Jabil for an

illegitimate purpose; (2) he allowed Appel, a convicted felon, to control LSI; and (3) he failed to

disclose Appel’s involvement to the public and outside creditors. Pl.’s Resp. Defs.’ Mot. JMOL 4,

ECF No. 306.

       Under Texas law, a breach of fiduciary duty claim requires: (1) a fiduciary relationship;

(2) a breach of this relationship; and (3) an injury to the plaintiff or benefit to the defendant



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resulting from this breach. Navigant Consulting, Inc. v. Wilkinson, 508 F.3d 277, 283 (5th Cir.

2007). It is also well established that “[c]orporate officers owe fiduciary duties to the corporations

they serve.” Duke Energy Int’l L.L.C. v. Napoli, 748 F. Supp. 2d 565, 667 (S.D. Tex. 2010) (citing

Loy v. Harter, 128 S.W.3d 397, 407 (Tex. App.—Texarkana 2004, pet. denied)). Consistent with

these legal principles, the Court instructed the jury:

         You are instructed that an officer or director owes a fiduciary duty to a corporation
         during the period of time that he was an officer or director of the corporation. The
         period of time relevant to each defendant in connection with this question for LSI
         is as follows:

         1. Matthew Cohen --             March 2009 until June 2012.
         2. John Paul DeJoria--          October 21, 2011 until September 14, 2012.

         You are further instructed that to prove that a defendant failed to comply with his
         fiduciary duty to LSI, Carey Ebert, as Trustee, must prove that the defendant failed
         to comply with either a duty of loyalty or duty of care owed to LSI. The duty of
         loyalty requires that an officer or director act in good faith and not allow his or her
         personal interest to prevail over the interest of the corporation. The duty of loyalty
         is described as requiring an extreme measure of candor, unselfishness, and good
         faith on the part of the officer or director. The duty of care requires that the officer
         or director handle his corporate duties with the diligence and prudence that an
         ordinarily prudent person would use under similar circumstances. . . .5

Jury Charge 6, ECF No. 287. The jury found that Cohen breached his fiduciary duty to LSI. Id.

For the following reasons, this finding is supported by sufficient evidence.

         Plaintiff argued and presented evidence at trial that Cohen caused LSI to enter into the Jabil

contract in May 2011 for illegitimate reasons, namely “to give the misleading appearance of

commercial viability to the market for the purpose of furthering defendants’ attempted pump-and-

dump scheme.” Pl.’s Resp. Defs.’ Mot. JMOL 5, ECF No. 306. Cohen testified that he personally

dealt with Jabil prior to the signing of the contract. Pl.’s App. 116, ECF No. 307-1. As stated

above, McBroom and LSI CEO Wohler testified that LSI was not commercially viable at any time


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 This section of the jury charge further instructed the jury on the application of business judgment rule to
actions by corporate officers and directors.

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before or after the execution of the Jabil contract. Pl.’s App. 62, ECF No. 307-1. Wohler testified

that when he was doing due diligence on behalf of DeJoria, he could not determine the operational

cost of the water remediation technology, which meant that LSI’s business model was unsound.

Pl.’s App. 56–57, ECF No. 307-1. Furthermore, LSI’s Form 8K—filed with the SEC the day before

LSI initiated bankruptcy proceedings—states that LSI “exploded its debt investment without a

committed or potential revenue to service such debt.” Pl.’s App. 21, ECF No. 307-1.

       There is also evidence of Plaintiff’s other two theories of Cohen’s breach—that Cohen

allowed Appel to control LSI and failed to disclose Appel’s involvement to outside investors. See

infra Section III(A)(2) (finding evidence of Appel’s involvement in LSI decision-making

sufficient to support a jury finding that Appel aided and abetted Cohen’s breach of fiduciary duty).

Upon review of the entire record, the Court finds sufficient evidence to support a jury finding that

Cohen breached his fiduciary duty to LSI.

       The Court also finds sufficient evidence to support a jury finding that Cohen’s breach

proximately caused $6.9 million in damages. See Jury Charge 8, ECF No. 287. Plaintiff argued

that because Cohen entered the Jabil contract with knowledge that LSI would not be able to

perform under the contract, the damages incurred as a result of this breach totaled slightly over

$9.5 million (the amount of debt LSI owed to Jabil). To support this theory, Plaintiff presented

Jabil’s proof of claim filed in bankruptcy court and trial testimony of Jabil representatives. See

Pl.’s Trial Exs. 175, 180. This is more than some evidence to show that the execution of the Jabil

contract proximately caused LSI damages. It was within the jury’s discretion to award below the

requested $9.5 million based on their credibility determinations.

       The jury also awarded $2 million in exemplary damages against Cohen based on clear and

convincing evidence that Cohen acted with malice or gross negligence. Jury Charge 9–10, ECF



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No. 287; see also TEX. CIV. PRAC. & REM. CODE § 41.003 (requirements for award of exemplary

damages). The Court finds this award, based on the evidence of Cohen’s conduct presented above,

is appropriate and reasonable in relation to the actual damages awarded. See Roth v. Mims, 298

B.R. 272, 297–98 (N.D. Tex. 2003).

          Accordingly, Separate Defendants JMOL is DENIED as to Cohen.

                  2.      Howard Appel

          The jury found that Appel aided and abetted Cohen’s breach of fiduciary duty and it

awarded $2.5 million in damages in connection with Damage Element 2.6 Jury Charge 7–8, ECF

No. 287. Separate Defendants argue that there is insufficient evidence to support these findings,

namely that Appel was a minority shareholder before LSI executed the Jabil contract, and that

Appel did not become an outside consultant to LSI until June 24, 2011. Br. Supp. Separate Defs.’

Mot. JMOL 8–9, ECF No. 294-1. Further, Separate Defendants argue that Plaintiffs failed to

present evidence of proximate cause with respect to the claim for damages assessed against both

Appel and Bartlett. Id. at 16–17. They argue that Plaintiff’s expert on damages “did not offer any

opinion on causation between the alleged $5.1 million and the breach of fiduciary duty or aiding

and abetting breach of fiduciary duty.” Id. at 18.

          Plaintiff responds that the evidence supports a reasonable jury’s conclusion “that Appel’s

participation in LSI and substantial assistance to Cohen started in early 2011 or late 2010” and

Appel’s participation was a proximate cause of Cohen’s breach, resulting in the jury’s reasonable

finding of $2.5 million in damages. Pl.’s Resp. Defs.’ Mot. JMOL 16–19, ECF No. 306.

          Under Texas law, an aiding and abetting breach of fiduciary duty claim requires: (1) the

existence of a fiduciary relationship; (2) a third party with knowledge of the fiduciary relationship;



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    See supra footnote 2 for Damage Element 2 of the jury charge.

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and (3) that third party’s participation in the breach of that fiduciary relationship. Meadows v.

Hartford Life Ins. Co., 492 F.3d 634, 639 (5th Cir. 2007) (citing Cox Tex. Newspapers, L.P. v.

Wootten, 59 S.W.3d 717, 721–22 (Tex. App. 2001). Consistent with these legal principles, the

Court instructed the jury:

       To establish a claim for aiding and abetting a breach of fiduciary duty, Carey Ebert,
       as LSI’s trustee, must prove: (1) the existence of a fiduciary relationship; (2) that
       the third party knew of the fiduciary relationship; and (3) that the third party was
       aware that it was participating in the breach of that fiduciary relationship.

Jury Charge 7, ECF No. 287. The first element here is undisputed—the parties agree that Cohen

was an officer and director of LSI and Cohen owed LSI a fiduciary duty. Id. at 5, 7. Second,

Plaintiff offered more than some evidence that Appel knew that Cohen was an officer and director

of LSI—including, for example, Appel’s own testimony about his meeting with “Harvey Kaye,

my friend Kenny, and Matt Cohen” in October 2010. See Pl.’s App. 77–78, 85, ECF No. 307-1.

       Separate Defendants argue that there is no evidence in the record to support a jury finding

that Appel “knowingly participated and provided substantial assistance in connection with the

alleged breach of fiduciary duty” by Cohen, and therefore Plaintiff failed to prove an essential

element of their claim. Br. Supp. Separate Defs.’ Mot. JMOL 9, ECF No. 294-1. The Court

disagrees. Plaintiff provided more than some evidence as to this element such that a reasonable

jury could conclude that Appel knowingly participated in, and substantially assisted, Cohen’s

breach. Plaintiff presented evidence that Appel participated in LSI executive committee meetings

(Pl.’s Trial Ex. 88); shared non-public information with Cohen (Pl.’s Trial Exs. 23, 81), drafted

and edited LSI press releases (Pl.’s Trial Exs. 26, 145), and attempted to control the Board of

Directors of LSI (Pl.’s Trial Ex. 70). Numerous LSI directors and associates testified that Cohen

gave Appel access to LSI documents and allowed Appel to exercise control over LSI company

policy and financial decisions. See Pl.’s App. 63, 66, 124, 128, 136–37, ECF No. 307-1. The

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evidence here sufficiently supports a reasonable jury finding that Plaintiff met her burden to prove

the third element—that Appel knowingly participated and provided substantial assistance to Cohen

in his breach of fiduciary duty. For the reasons stated above, the Court finds that there is sufficient

evidence for a jury finding that Appel aided and abetted Cohen’s breach of fiduciary duty.

       Separate Defendants next challenge the $2.5 million damages awards against Appel and

Bartlett, claiming Plaintiff failed to prove that their actions proximately caused damage to LSI.

They rely on Qualls v. State Farm Lloyds, 226 F.R.D. 551, 552 (N.D. Tex. 2005), for the

proposition that “expert testimony is required under Texas law to prove causation where the

underlying tort is of such a nature as not to be within the experience of the layman.” Br. Supp.

Separate Defs.’ Mot. JMOL 17, ECF No. 294-1. They argue that Plaintiff’s expert “Manz did not

offer an opinion on causation between the alleged $5.1 million” and the breach, and therefore

Appel and Bartlett cannot be found liable for the $2.5 million each or the additional $5 million in

punitive damages assessed against Appel by the jury. Plaintiffs argue that under Texas law “lay

testimony is adequate to prove causation in those cases in which general experience and common

sense will enable a layman, to determine, with reasonable probability, the causal relationship

between the event and the condition,” and that this Court should review the evidence in this case

under that standard. Morgan v. Compugraphic Corp., 675 S.W.2d 729, 733 (Tex. 1984).

       But Qualls is legally and factually distinguishable. First, Qualls involved an action where

homeowners brought claims for breach of the homeowner’s policy, and inter alia breach of the

duty of good faith and fair dealing against their insurance company. Qualls, 226 F.R.D. at 552.

The court in Qualls considered if expert testimony on the issue of causation is required to prove

damages under Texas law. Id. at 554–55. A faulty sewer pipe caused mold to develop in the Qualls’

home, which led to the damages at issue. The court found that expert testimony was required to



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establish causation because “although it may be within general experience that water can cause

mold, it is not within general experience that a buried sewer pipe that does not leak under normal

flow conditions could cause mold over an extended distance throughout a house.” Id. at 558. The

Qualls court cited cases examining medical claims, where “medically complex diseases and causal

ambiguities compound the need for expert testimony.” Id. at. 556 (citations omitted). Qualls is

therefore neither factually nor legally similar to the case at hand. Unlike Qualls, this case does not

present the same kind of complex issues and ambiguities that would persuade the Court to depart

from the standard set by the Texas Supreme Court in Morgan to prove causation. 675 S.W.2d at

733. Therefore, Plaintiff did not need to provide expert testimony on the causation issue if a

reasonable jury of laymen could determine with reasonable probability that Appel’s actions were

a substantial factor in bringing about at least $2.5 million in damages to LSI.

       There is more than some evidence in the record to support the jury’s finding on causation.

Manz testified that his extensive investigation into LSI’s financials informed his opinion that

certain defendants, including Appel, profited $5.1 million from the sale of LSI stock. Trial Tr.

(Manz testimony) 32–34, ECF No. 288. There is also evidence in the record of Appel’s

involvement with the terminated defendants—the “friends and family” who were included in

Manz’s damage assessment as entities who profited from selling LSI stock. Appel also testified at

trial that he and Bartlett received “approximately a million and-a-half shares of restricted stock of

LSI,” warrants at a $2 strike price, and $350,000 in cash paid to FEQ Realty as a form of

compensation for their efforts. This evidence is more than sufficient to support a jury finding that

Appel caused, and is liable for, at least $2.5 million in damages.

       The jury also awarded $5 million in exemplary damages against Appel. Jury Charge 10,

ECF No. 287; see also TEX. CIV. PRAC. & REM. CODE § 41.003 (requirements for award of



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exemplary damages).7 The award of $5 million in exemplary damages equals two times the award

of $2.5 million in actual damages assessed by the jury, and does not exceed the exemplary damages

cap under § 41.008(b)(1)(A). Therefore, the Court finds this award, based on the evidence

presented above of Appel’s conduct, does not exceed the statutory cap and is appropriate and

reasonable in relation to the actual damages awarded. See Roth v. Mims, 298 B.R. 272, 297–98

(N.D. Tex. 2003).

         Accordingly, Separate Defendants JMOL is DENIED as to Appel.

                3.      Earnest Bartlett

         The jury found that Bartlett aided and abetted Cohen’s breach of fiduciary duty and it

awarded $2.5 million in damages in connection with Damage Element 2.8 Jury Charge 7–8, ECF

No. 287. Separate Defendants argue that there is insufficient evidence to support these findings

because Plaintiff failed to prove that Bartlett “knowingly participated in and provided substantial

assistance in connection with the alleged breach of [ ] Cohen’s fiduciary relationship to LSI . . . .”

Br. Supp. Separate Defs.’ Mot. JMOL 19, ECF No. 294-1.

         To prove Bartlett aided and abetted Cohen’s breach of fiduciary duty, Plaintiff was required

to prove: (1) the existence of a fiduciary relationship; (2) that Bartlett knew of the fiduciary

relationship; and (3) that Bartlett was aware that he was participating in the breach of that fiduciary

relationship. Meadows, 492 F.3d at 639. The first element here is undisputed—the parties agree

that Cohen was an officer and director of LSI and Cohen owed LSI a fiduciary duty. Jury Charge

5, 7, ECF No. 287. Second, Plaintiff offered more than some evidence that Bartlett knew that



7
  Texas imposes a cap on exemplary damages and provides “(b) [e]exemplary damages awarded against a
defendant may not exceed an amount equal to the greater of: (1)(A) two times the amount of economic
damages; (B) plus an amount equal to any noneconomic damages found by the jury, not to exceed $750,000;
(2) or $200,000.” TEX. CIV. PRAC. & REM. CODE § 41.008.
8
  See supra footnote 2 for Damage Element 2 of the jury charge.

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Cohen was an officer and director of LSI—Appel testified about his close business relationship

with Bartlett and how he encouraged Bartlett to invest in LSI through his company FEQ Realty,

LLC (“FEQ Realty”). Pl.’s App. 76–78, ECF No. 307-1; Def.’s Demo. Trial Ex. 30. Bartlett,

through FEQ Realty, invested in LSI and it is therefore reasonable to infer that as an investor, he

knew of LSI’s officers and directors through LSI’s public disclosure documents and other means.

Pl.’s Trial Ex. 143. Bartlett confirmed in trial testimony that he was intimately involved with FEQ

Realty and the company signed a written consulting agreement with LSI. Pl.’s App. 91, ECF No.

307-1; Pl.’s Trial Ex. 114). The Court finds that the jury could reasonably infer from all of the

evidence presented that Bartlett knew of Cohen’s fiduciary relationship with LSI.

       Lastly, Separate Defendants argue that Plaintiff failed to prove an essential element of their

claim because there is no evidence in the record to support a jury finding that Bartlett knowingly

participated and provided substantial assistance in connection with Cohen’s breach. Br. Supp.

Separate Defs.’ Mot. JMOL 18–19, ECF No. 294-1. The Court disagrees. Bartlett’s company FEQ

Realty had a consulting agreement giving it broad powers to manage and control LSI’s affairs.

Pl.’s Trial Ex. 114. There is also evidence that Bartlett and Appel regarded Cohen as their inside

man within LSI who they could use for information and control. Bartlett attended LSI executive

committee meetings (Pl.’s Trial Ex. 88) and convinced DeJoria to protect Cohen from being fired

(Pl.’s Trial Ex. 318). LSI associates also believed that Bartlett “interfere[ed] with the day-to-day

management of LSI almost on a daily basis.” Pl.’s Trial Ex. 342. This is more than some evidence

that Bartlett knowingly participated in, and provided substantial assistance to, Cohen’s breach of

fiduciary duty.

       Separate Defendant’s also argue that Plaintiff failed to establish that Bartlett’s actions

proximately caused damage to LSI. Separate Defendants raised many of the same arguments for



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Bartlett as they did for Appel, claiming there was insufficient evidence for the jury to find that

Bartlett’s actions resulted in $2.5 million in damages to LSI. The Court therefore incorporates here

its reasoning on causation in Section III(A)(2) and holds that there is sufficient evidence to show

causation with respect to Bartlett. Further, there is evidence that FEQ Realty, a company owned

and controlled by Bartlett, generated a net profit of $2.3 million. Trial Tr. (Manz testimony) 37–

38, ECF No. 288. This, along with the evidence described in Section III(A)(2) above, is more than

sufficient to support a jury finding that Bartlett’s actions proximately caused damage to LSI in the

amount of $2.5 million.

         Accordingly, the Court DENIES Separate Defendant’s Rule 50 motion as to Bartlett.

         B.     Separate Defendants’ Rule 59 Motion

         The Fifth Circuit has held that a new trial is appropriate where: (1) the verdict is against

the weight of the evidence, (2) the amount of damages awarded is excessive, or (3) the trial was

unfair or marred by prejudicial error. Seidman, 923 F.2d at 1140. “Courts do not grant new trials

unless it is reasonably clear that prejudicial error has crept into the record or that substantial justice

has not been done, and the burden of showing harmful error rests on the party seeking the new

trial.” Del Rio, 589 F.2d at 179 n.3. Separate Defendants argue that Plaintiff’s counsel made

remarks about expert testimony in his closing statement that were highly prejudicial. Defendants’

counsel objected at the time and was overruled.9 The Court does not believe the statement made


9
 The comment that Separate Defendants argue is prejudicial reads in the transcript as follows:
       Mr. Cullens: Thank you, Your Honor. Eight minutes? . . . I will suggest to you what Mr.
       Shemin knows, but I will make it clear. It would be improper for any experts – You
       remember we went through all the experts. You can’t state your personal opinion; that’s
       for the jury.
       Mr. Shemin: Objection, Your Honor. I hate to object. That’s just not an accurate statement
       of law.
       Mr. Cullens: Your Honor, Federal Rules of Evidence clearly –
       The Court: Hold on. Hold on. I overrule the objection. Go ahead.
See Min. Entry 19:17–20:9, ECF No. 293.

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by Plaintiff’s counsel caused manifest injustice to the movants, and Separate Defendants have

failed to provide evidence of harmful error. The Court therefore DENIES Separate Defendants’

motion for new trial.

        C.     DeJoria’s Rule 50 Motion

       The jury found DeJoria breached his fiduciary duty and aided and abetted Cohen’s breach

of fiduciary duty. Jury Charge 6–7, ECF No. 287. The jury assessed damages against DeJoria

totaling $1.5 million as to Damage Element 1 and $1 million in exemplary damages. Id. at 8, 10.

DeJoria filed his motion for judgment as a matter of law under Rule 50, or in the alternative, motion

to alter or amend the judgment, and motion for new trial under Rule 59 on August 7, 2017. DeJoria

Mot. JMOL, ECF No. 296. DeJoria generally argues that the evidence presented at trial was

insufficient to support the jury verdict.

       To prove DeJoria breached his fiduciary duty to LSI, Plaintiff was required to establish (1)

a fiduciary relationship; (2) a breach by DeJoria; and (3) that DeJoria’s breach resulted in injury

to Plaintiff or benefit to DeJoria. Navigant Consulting, 508 F.3d at 283. The first element is

undisputed here—DeJoria as a director of LSI owed the company a fiduciary duty from the time

he became a director on October 21, 2011, until September 14, 2012. Jury Charge 5, ECF No. 287.

       As to the second element, Plaintiff did not argue at trial that DeJoria’s direct actions

resulted in a breach of his fiduciary duty. Rather, Plaintiff presented a theory that DeJoria’s

decision to refrain from acting in accordance with his legal duties constituted a breach. Plaintiff

argued that DeJoria knew that the Jabil contract was harmful to the company, that Appel and

Bartlett’s influence hurt LSI, and that DeJoria chose to do nothing while the company floundered.

Specifically, Plaintiff argued that upon becoming a director of LSI in October 2011, DeJoria had

a duty to “immediately take the necessary steps to terminate the Jabil contract and mitigate the



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damage to LSI” and prevent Appel and Bartlett from exercising control over LSI. Pl.’s Resp. 15,

ECF No. 308.

       The Supreme Court recognized in Briggs that directors and officers of a corporation are

liable for losses their company incurs due to their neglect of duty. Briggs v. Spaulding, 141 U.S.

132, 146 (1891); see also 3A FLETCHER CYCLOPEDIA OF THE LAW OF PRIVATE CORPORATIONS,

1082 (1986 rev. ed.) (“[D]irectors . . . liable for the losses caused by their neglect of duty although

such losses resulted after they had ceased to be directors . . . .”). Plaintiff presented evidence at

trial that DeJoria knew of: (1) LSI’s insolvency before LSI entered into the Jabil contract, saddling

the company with millions of dollars of debt; and (2) the shady and damaging actions taken by

Appel and Bartlett. The Court is unpersuaded that the evidence of DeJoria’s knowledge of LSI’s

insolvency before LSI committed to the Jabil contract sufficiently supports a finding that DeJoria

is liable for the damages resulting from the Jabil contract. Plaintiff has not shown that DeJoria

should be liable for damages incurred by action that predates his time as an LSI director. Nor has

Plaintiff pointed to evidence in the record that would support a conclusion that he breached his

fiduciary duty related to the Jabil contract while he was a director. Cf. Navigant Consulting, 508

F.3d at 283 (requiring the existence of a fiduciary relationship to find a breach of fiduciary duty).

       The Court does find, however, that there is sufficient evidence to support Plaintiff’s

alternative theory of DeJoria’s breach—namely, DeJoria’s awareness of, and failure to shield LSI

from, the bad acts of Cohen, Appel, and Bartlett. Plaintiff presented evidence that indicates DeJoria

knew of Appel and Bartlett’s self-dealing and chose to move slowly rather than attempt to cancel

their consulting agreements or halt their participation in LSI affairs. Pl.’s App. 18–20, ECF No.

307-1 (Mar. 2, 2012 letter from Gustin, Wohler, and Link to DeJoria); Pl.’s Trial Ex. 318 (Aug.

17, 2012 Wohler e-mail) (“[DeJoria] has thwarted us on every single occasion. To the point where



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he refused to acknowledge board minutes mentioning wrongdoing of the Appel group.”). There is

also evidence that Appel and Bartlett persuaded DeJoria not to allow CEO Wohler to fire Cohen

after LSI associates became aware of Cohen’s harmful actions. Pl.’s Trial Ex. 318 (Aug. 17, 2012

Wohler e-mail) (“I tried to fire [ ] Cohen for numerous documented reasons with [DeJoria]’s

authority and then [Appel], [Bartlett] would call him and he would force me to rescind the firing”).

With this evidence, the jury could reasonably infer that DeJoria’s actions and inaction related to

relieving Cohen of his duties constituted a breach of his duty to LSI.

       The third element requires Plaintiff to provide evidence that proves DeJoria benefitted from

his breach, or that his breach caused damage to LSI. It is clear that DeJoria did not benefit from

his dealings with LSI; in fact he lost a substantial amount of money. See DeJoria Mot. JMOL 5,

ECF No. 296 (containing a chart showing DeJoria’s investments in LSI in 2011 and 2012).

Plaintiff presented evidence of a report addressed on February 9, 2012, to Gustin and DeJoria (also

received by CEO Wohler) summarizing documentation related to LSI stock sales by Appel. Pl.’s

Trial Ex. 333 (Lugo Report) (“I have found numerous documents whereby shares are being

purchased at $1.00 per share by [ ] Appel and or persons or corporations he may control and then

sold into the open market at then current price [sic] with a spread of 2 to 3 points of immediate

profits generated.”). LSI hired the author of the report, Jose Antonio Lugo (“Lugo”), to look into

suspicions of market manipulation. July 13, 2017 Trial Tr. 113:17–23 (Appel Cross). Lugo opined

that under a securities regulation known as Rule 16B, which regulates insider trading, Appel

should have paid back the profits he made to LSI. See Pl.’s Trial Ex. 333. Months later, in May

2012, Lugo alerted LSI associates that he believed Appel would be considered an undisclosed

investor by the SEC and “[e]ach and every share that [ ] Appel has purchased and sold can be

considered by the SEC as RESTRICTED SHARES SALES. [Appel] is an insider and this will be



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a major problem for [LSI].” Pl.’s Trial Ex. 452 (Lugo e-email) (emphasis in original). This

constitutes sufficient evidence that DeJoria consciously disregarded the activities of Cohen,

Bartlett, and Appel. Moreover, from the evidence presented that Appel was profiting from LSI

stock through insider trading, the jury could reasonably infer that absent DeJoria’s protection of

Cohen and Appel, the damages incurred by the undisclosed sale of LSI stock would not have

occurred. Therefore, the jury could reasonably infer that DeJoria’s acts proximately caused

damages to LSI. Accordingly, the Court finds that sufficient evidence exists as to all three elements

to support a finding that DeJoria breached his fiduciary duty to LSI.

       The jury found DeJoria liable for $1.5 million in liabilities incurred by LSI because of his

breach of fiduciary duty. Jury Charge 8, ECF No. 287. The Court must determine whether there is

sufficient evidence in the record to support the damage award. First, Manz testified that his

extensive investigation into LSI’s financials informed his opinion that certain defendants,

including Appel and Bartlett, profited $5.1 million from the sale of LSI stock. Trial Tr. (Manz

testimony) 32–34, ECF No. 288. This evidence alone is not sufficient; the profit must have

occurred during DeJoria’s tenure. While DeJoria was a director—from October 21, 2011 and

through February 7, 2012—Appel himself provided a record, in the form of an e-mail, of the

“Bartlett/Appel group” buying well over 2 million shares and selling them into the market. See

Pl.’s Trial Ex. 124. At the minimum price of $1 per share (as described in Appel’s e-mail), the jury

could reasonably infer that Appel and Bartlett profited at least $2 million during DeJoria’s tenure.

This is more than some evidence to support a jury finding that DeJoria’s breach caused $1.5 million

in damages to LSI. It was within the jury’s discretion to award below the amount shown by the

evidence based on their credibility determinations.

       Next, DeJoria also argues there is insufficient evidence that he aided and abetted Cohen’s



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breach of fiduciary duty. DeJoria Mot. JMOL 6–7, ECF No. 296. To prove this claim at trial,

Plaintiff was required to establish: (1) the existence of a fiduciary relationship between Cohen and

LSI; (2) that DeJoria knew of that fiduciary relationship; and (3) that DeJoria was aware that he

was participating in Cohen’s breach of that fiduciary relationship. Meadows, 492 F.3d at 639. The

first element here is undisputed—the parties agree that Cohen was an officer and director of LSI

and Cohen owed LSI a fiduciary duty. Jury Charge 5, 7, ECF No. 287. Second, Plaintiff offered

evidence that DeJoria knew that Cohen was an officer and director of LSI—DeJoria was a longtime

investor in LSI and it is therefore reasonable to infer that as an investor, he knew of LSI’s officers

and directors through LSI’s public disclosure documents and other means. See Pl.’s Trial Ex. 143.

       Lastly, Plaintiff argues that by allowing Cohen, Appel, and Bartlett to maintain control

over LSI even after he knew of their wrongdoing, DeJoria knowingly participated in, and provided

substantial assistance to, Cohen’s breach of fiduciary duty. Pl.’s Resp. 9–13, ECF No. 308. There

is more than some evidence in the record—detailed throughout this order—that DeJoria was fully

aware of that Cohen was mishandling LSI’s affairs. See, e.g., Defs.’ Ex. 421 at 58–65, ECF No.

276; Pl.’s App. 16, 18–20, 65–66, ECF No. 307-1. The evidence cited above shows that Wohler

and other LSI associates frequently informed DeJoria of the day-to-day operations of the company

and warned him of Cohen’s dealings with Appel and Bartlett. There is also evidence that Bartlett

persuaded DeJoria not to allow CEO Wohler to fire Cohen after LSI associates became aware of

Cohen’s harmful actions. Pl.’s Trial Ex. 318. This evidence supports the theory Plaintiff argued at

trial—that DeJoria knowingly participated in Cohen’s breach by allowing Cohen to continue his

wrongful actions, namely giving Appel and Bartlett significant control over LSI’s affairs, and these

actions caused harm to LSI. The Court finds that the evidence is sufficient to support a finding that

DeJoria aided and abetted Cohen’s breach of fiduciary duty and DeJoria is therefore jointly and



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severally liable for the damages assessed by Cohen’s breach of fiduciary duty.

       The jury also awarded $1 million in exemplary damages against DeJoria. Jury Charge 9–

10, ECF No. 287; see also TEX. CIV. PRAC. & REM. CODE § 41.003 (requirements for award of

exemplary damages). The Court finds this award, based on the evidence presented above of

DeJoria’s conduct, is appropriate and reasonable in relation to the actual damages awarded. See

Roth v. Mims, 298 B.R. 272, 297–98 (N.D. Tex. 2003).

       For the reasons stated above, DeJoria’s Rule 50 motion is DENIED in its entirety.

       D.      DeJoria’s Rule 59 Motion

       DeJoria formulaically concludes his Rule 50 motion with a request that the Court grant a

new trial in this matter, but provides no argument or evidence of prejudicial error or manifest

injustice of the jury verdict. DeJoria Mot. JMOL 19–20, ECF No. 296. As stated above, the Fifth

Circuit has found that a new trial is appropriate where: (1) the verdict is against the weight of the

evidence, (2) the amount of damages awarded is excessive, or (3) the trial was unfair or marred by

prejudicial error. Seidman, 923 F.2d at 1140. “Courts do not grant new trials unless it is reasonably

clear that prejudicial error has crept into the record or that substantial justice has not been done,

and the burden of showing harmful error rests on the party seeking the new trial.” Del Rio, 589

F.2d at 179 n.3. The Court finds that DeJoria has failed to meet his burden of showing why the

Court must grant a new trial and therefore DeJoria’s motion is DENIED.

       E.      Plaintiff’s Rule 58 Amended Motion For Judgment

       The general rule, applicable here and in most cases, which has been recognized repeatedly

by the Texas Supreme Court holds that: “The jury generally has discretion to award damages

within the range of evidence presented at trial.” Sw. Energy Prod. Co., 491 S.W.3d at 713; see

also, e.g., Gulf States Utils. Co. v. Low, 79 S.W.3d 561, 566 (Tex. 2002); Helena Chem. Co. v.



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Wilkins, 47 S.W.3d 486, 506 (Tex. 2001) (holding that evidence was sufficient to support jury’s

damage award where jury’s damages finding was “within the range of evidence the [plaintiff]

presented”). The damage awards here were not excessive but were within the range of damages

presented by Plaintiff at trial.

        Texas law also states that if a third party knowingly participates in a defendant’s breach of

fiduciary duty owed to a plaintiff, the third party is jointly liable with the defendant for damages

to the plaintiff proximately caused by this breach of fiduciary duty, and the plaintiff has the same

equitable remedies against the defendant and the third party based upon this breach. Kline v.

O'Quinn, 874 S.W.2d 776, 786–87 (Tex. App.—Houston [14th Dist.] 1994, writ denied); Kinzbach

v. Corbett–Wallace Corp., 138 Tex. 565, 160 S.W.2d 509, 512–14 (1942). Therefore, based on the

jury findings and Texas law, the Court finds that Appel, Bartlett, and DeJoria are jointly and

severally liable for the $6.9 million in compensatory damages awarded against Cohen. Defendants

Appel, Bartlett, and DeJoria are also personally liable for the damages assessed against them for

aiding and abetting Cohen’s breach and exemplary damages. Cohen is also personally liable for

the exemplary damages assessed against him.

        Plaintiff’s amended motion for judgment is therefore GRANTED.

         IV.    CONCLUSION

        For the reasons stated above, the Court finds that Separate Defendants’ Motion to Alter

Judgment as a Matter of Law (ECF No. 294) should be and is hereby DENIED; Defendant John

Paul DeJoria’s Motion for Judgment as a Matter of Law (ECF No. 296) should be and is hereby

DENIED; and Plaintiff’s Amended Motion for Judgment (ECF No. 297) should be and is hereby

GRANTED. In light of this decision, the parties are to file a joint status report no later than January

29, 2018, setting forth what else needs to be accomplished to conclude this matter.



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     SO ORDERED on this 22nd day of January, 2018.




                                        _____________________________________
                                        Reed O’Connor
                                        UNITED STATES DISTRICT JUDGE




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